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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                           §    Chapter 11
                                                 §
ALEXANDER E. JONES                               §    Case No. 22-33553
                                                 §
          Debtor.                                §
                                                 §

         GLOBAL NOTES AND SUPPORTING INFORMATION REGARDING FIRST
                     AMENDED SCHEDULES OF ASSETS AND
              LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

       On December 2, 2022 (the “Petition Date”), Alexander E. Jones (the “Debtor”) filed a
voluntary petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of Texas, Houston Division
(the “Bankruptcy Court”).

       With the assistance of his Bankruptcy Court approved financial and legal advisors, the
Debtor prepared the original Schedules and Statement of Financial Affairs filed on February 14,
2023 at Docket Numbers 130 and 131. On the date below, the Debtor filed his annexed First
Amended Schedules of Assets and Liabilities (the “Schedules”) and the First Amended Statement
of Financial Affairs (the “SOFA”) and combined, the “Schedules and SOFAs”), pursuant to
Section 521 of the Bankruptcy Code and Rule 1007 of the Federal Rules of Bankruptcy Procedure.
The Schedules and SOFAs are unaudited and do not purport to represent financial statements
prepared in accordance with Generally Accepted Accounting Principles in the United States
(“GAAP”), and they are not intended to be fully reconciled to any financial statements.

        Although the Debtor’s advisors and the Debtor have made every reasonable effort to ensure
that the Schedules and SOFAs are accurate and complete based on information that was available
to them at the time of preparation, subsequent information or discovery may result in material
changes to these Schedules and SOFAs, and inadvertent errors or omissions may have occurred.
Subsequent receipt of information or an audit may result in material changes in financial data
requiring amendment of the Schedules and SOFAs. These notes regarding the Debtor’s Schedules
and SOFAs (the “Notes”) comprise an integral part of the Debtor’s Schedules and SOFAs and
should be referenced in connection with any review of the Schedules and SOFAs. Nothing
contained in the Schedules and SOFAs shall constitute a waiver of any rights or claims of the
Debtor against any third party, or in or with respect to any aspect of this chapter 11 case.

        Compiling the information necessary to complete the Schedules and SOFAs for this
individual debtor was incredibly difficult due to the lack of books and records in any single place.
Multiple individuals assisted the Debtor in paying his bills and household expenses, but no budget
existed and no bookkeeper reconciled any bank statements. Bank accounts were used by or on
behalf of the Debtor by third parties due to his status as a controversial public media personality.




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      1.        Amendments. The Debtor reserves the right to amend or supplement the
Schedules and SOFAs as necessary or appropriate.

        2.        Asset Presentation. Most assets and liabilities of the Debtor are fair market
value as of December 2, 2022; provided, however, that some adjustments have been made when
the information was available subsequent thereto. When another source or method was used, all
attempts have been made to notate such source or method. The Debtor reserves his right to amend
or adjust the value of each asset or liability set forth herein.

        3.         Liabilities. The Debtor sought to allocate liabilities between the prepetition and
postpetition periods based on the information and research that was conducted in connection with
the preparation of the Schedules and SOFAs. As additional information becomes available and
further research is conducted, the allocation of liabilities between prepetition and postpetition
periods may change. The Debtor also reserves the right to change the allocation of liability to the
extent additional information becomes available.

        4.          Causes of Action. Despite reasonable efforts, the Debtor may not have identified
or set forth all of its causes of action against third parties as assets in his Schedules and SOFAs.
The Debtor reserves any and all of his rights with respect to any causes of action he may have, and
neither these Notes nor the Schedules and SOFAs shall be deemed a waiver of any such causes of
action.

        5.         Claim Description. Any failure to designate a claim on the Schedules or SOFAs
as “disputed,” “contingent” or “unliquidated” does not constitute an admission by the Debtor that
such claim is not “disputed,” “contingent” or “unliquidated.” The Debtor reserves the right to
dispute, or to assert offsets or defenses to, any claim reflected on his Schedules and SOFAs as to
amount, liability, priority, secured or unsecured status, or classification, or to otherwise designate
any claim as “disputed,” “contingent” or “unliquidated” by filing and serving an appropriate
amendment. The Debtor also reserves the right to amend his Schedules or SOFAs as necessary or
appropriate.

        6.          Property and Equipment. A third-party appraisal company has completed a
physical inventory or appraisal of all of his owned equipment household goods, jewelry, and other
physical assets located at his homestead and lake house and such values are described and
contained in these Schedules. Nothing in the Schedules or SOFAs (including, without limitation,
the failure to list leased property or equipment as owned property or equipment) is or shall be
construed as an admission as to the determination of legal status of any lease (including whether
any lease is a true lease or financing arrangement), and the Debtor reserves all of his rights with
respect to such issues.

        7.         Insurance. The Debtor has, in the past, maintained a variety of insurance policies
including property and life. The Debtor’s interest in these types of policies is limited to the amount
of the premiums that the Debtor has prepaid, if any, as of Petition Date. To the best of the Debtor’s
knowledge, no such prepayments exist. The Debtor reserves all rights to refunds of any
overpayments of premiums paid on any insurance policies. In addition, the Debtor believes there
is no cash value in such policies.




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        8.       Insiders. In the circumstances where the Bankruptcy Schedules require
information regarding insiders, the listing of a party as an insider is not intended to be nor should
it be construed as a legal characterization of such party as an insider and does not act as an
admission of any fact, claim, right or defense and all such rights, claims and defenses are hereby
expressly reserved. Further, employees have been included in this disclosure for informational
purposes only and should not be deemed to be “insiders” in terms of control of the Debtor,
management responsibilities or functions, decision-making or apparent or actual authority or as
otherwise defined by applicable law, including, without limitation, the federal securities laws, or
with respect to any theories of liability or for any other purpose.

        9.       Statement of Financial Affairs 19(d) – Financial Statements. The Debtor has tried
to remember all financial institutions, creditors and other parties to whom a financial statement
was issued within two years immediately preceding the Petition Date. The Debtor reserves his
rights to subsequently supplement or amend Statement 19d upon discovery of additional
information.

         10.      Specific Notes. These General Notes are in addition to the specific notes set forth
in the individual Schedules and SOFAs. Disclosure of information in one Schedule, SOFA, exhibit,
list, or continuation sheet even if incorrectly placed, shall be deemed to be disclosed in the correct
Schedule, SOFA, exhibit, list, or continuation sheet.

        11.    Totals. All totals that are included in the Schedules represent totals of the
liquidated amounts for the individual schedule for which they are listed.

       12.      Unliquidated Claim Amounts. Claim amounts that could not be fairly quantified
by the Debtor are scheduled as “unliquidated” or “unknown.”

        13.     General Reservation of Rights. The Debtor specifically reserves the right to
amend, modify, supply, correct, change or alter any part of his Schedules and SOFAs as and to the
extent necessary as he deems appropriate.

       14.       Specific Notes.

   •   Schedule A/B: Property – Part 1 – Residence
          o Part 1.0: Home Residence (homestead)
                 ▪ Zillow Zestimate – current 100% value $3,266,000.
                        • Current value of the portion you own: per pre-nuptial agreement,
                            Alexander E. Jones (“AEJ”) and his wife each own 50% of
                            residence or $1,633,000.
                        • Currently deed records show 100% in wife’s name due to
                            administrative error but wife’s attorney is working to correct error.
          o Part 1.2: Rental Property
                 ▪ Located in SE Austin
                 ▪ Zillow Zestimate – current value $505,000.
                 ▪ 15-year + tenant, lease is a verbal month-to-month.
                 ▪ Tenant performs & has never had rent adjusted.


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              ▪   Tenant pays $1,200 per month plus maintenance, upkeep and part-time IT
                  work for AEJ and Free Speech Systems, LLC (“FSS”).
              ▪ The mortgage is $1,649.
              ▪ Pays in cash & deposited into PNC DIP depository account (current)
              ▪ David Jones was seller (05/15/2015) and is co-mortgagee.
       o Part 1.3: Lake House - located on Lake Travis
              ▪ Appraised value of $1,750,000 as of 10/17/2022 by Wheeler Appraisal,
                  LLC prepared for Jordan & Ortiz, P.C.
              ▪ Lake house was purchased in 2015.
       o Questions regarding condominiums per initial filing:
              ▪ Condo # 3 – Purchased June 7, 2017, from Grantor, Jeffrey R Skipper &
                  Delee D. Skipper by David Jones solely as the trustee of Alexander E
                  Jones Descendant and Beneficiary Trust (Grantee).
              ▪ Condo # 5 – AEJ conveyed to RCGJ, LLC (March 18, 2016), RCGJ, LLC
                  conveyed to Alexander E Jones Descendant and Beneficiary Trust (June
                  30, 2017).
              ▪ Condo # 6 – Purchased February 25, 2016 (original deed) from 3504
                  Clawson Road, LLC (seller) by RXXCTTGAA Trust (corrected deed filed
                  on April 25, 2016).
              ▪ Insurance being paid by AEJ; will be transferred for owner to pay all
                  future payments.
•   Schedule A/B: Property – Part 2 – Vehicles
       o 3.0: Cars, vans, trucks, sport utility vehicles, motorcycles
              ▪ 3.1: 2017 Ford Expedition (good condition)
                      • Kelly Blue Book value of $21,463 as of 02/07/23
              ▪ 3.2: 2019 Dodge Challenger (Hellcat Redeye) (good condition)
                      • Kelly Blue Book value $67,575 as of 02/07/23
              ▪ 3.3: 2020 Dodge Charger (Hellcat) (good condition)
                      • Kelly Blue Book value $70,618 as of 02/07/23
              ▪ 3.4: 2020 Chevrolet Tahoe (added) (good condition)
                      • Initially believed this vehicle was leased; subsequently discovered
                          lease was purchased/paid off.
                      • Kelly Blue Book value of $60,034 as of 03/08/23
                              o Mileage – 34,734
                              o Vin # 1GNSCCKJ5LR294493

•   Schedule A/B: Property – Part 2 – Boats & trailers (slip #’s 1C73, 1A80, TR007, &
    1A11)
              ▪ 4.1: 2016 Regal Boat 28 Express & 2003 Ezloader Trailer and Glastronbo
                  GS229.
                     • JD Power value of $67,015 as of 02/07/23 (includes trailer)
                     • Stored in marina stack system – Lake Travis
              ▪ 4.2: 2015 Regal Boat 24 Fasdeck & 2015 Magnum Trailer


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                       • JD Power value $47,285 as of 02/07/23 (includes trailer).
                       • Store in marina stack system – Lake Travis
               ▪   4.3: 2003 Glastron 22 foot boat Model GS209
                       • Stored in marina stack system – Lake Travis
                       • Possession was taken by Patrick Reilly seven years ago, but boat
                          remains registered in AEJ’s name and located in AEJ’s slip.
                       • Value of $23,500 according to boatcrazy.com

•   Schedule A/B: Property – Part 3 – Personal and Household Items
       o 6 – 9 & 11
              ▪ Appraisal performed March 9, 2023, by ValuePros LLC – total value of
                  household goods located in homestead is $69,197
              ▪ Located two additional watches after appraisal
                     • Omega 300 CO-Axial – value of $2250 per wholesale jeweler
                     • Tag Heuer Autavia – value of $1000 per wholesale jeweler
       o 9. Equipment for sports and hobbies (3 electric bikes).
              ▪ Rhino (Zugo)
              ▪ Two (2) Bakcou
       o 10. Firearms
              ▪ Value by Mike Cargill of Central Texas Gun Works as of 02/22/23 in a
                  range of $62,089 (dealer value) – $89,606 (used retail value). After
                  appraisal was completed, found five additional guns in AEJ’s closet (three
                  revolvers, a pistol and a rifle) – per Cabella’s website, the value of each
                  new is valued at a total of $11,655.
              ▪ Total value of firearms is $73,744.
       o 13.0 Non-farm animals
              ▪ Ragdoll cat (approximately 2 years old) – valued at
                  $200.
       o 14.0 Cryoniq Cryogenic chamber – valued at $4,000 per
          conversations with President of the Company.
•   Schedule A/B: Property - Part 4 – Financial Assets.
       o 16.0 – $12,000.
       o 17.0 Deposits of Money
              ▪ 17.1 – 17.7
                     • 17.2 – no change
                     • 17.3 – no change
                     • 17.4 – no change
                     • 17.5 – no change
                     • 17.6 – no change
                     • 17.7 – no change
                     • 17.8 – no change
                     • 17.1 – added – Prosperity Bank # 9175 – $57,403.38


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   o 18.0 Bonds, Mutual funds or publicly traded stocks
         ▪ No publicly traded stocks, money market funds, bond funds
   o 19.0 Non-publicly traded stock and interests and unincorporated and
     unincorporated businesses, including an interest in an LLC, partnership, and joint
     venture.
         ▪ Free Speech Systems, LLC
               • Value $0, derived from schedules filed by FSS (case # 22-60043),
                   reflecting the value of liabilities greater than assets
               • Tax forfeiture on March 10, 2023


          ▪   AEJ Austin Holdings LLC
                 • Owns 80% of PLJR Holdings Limited, LLC which owns 90% of
                    PQPR Holdings Limited, LLC (“PQPR”), an effective 72%
                    ownership of PQPR
                 • Value of PQPR is undetermined
                 • Bank balance $10,000 – (Security Bank account #0940).
          ▪   Guadalupe County Land and Water LLC
                 • Ranch was transferred from Guadalupe County Land and Water
                    LLC (per appraisal) to 2022 Appeal Trust and thereafter to AEJ on
                    December 2, 2022 (listed elsewhere in these Schedules under farm
                    and ranch land).
                 • No other assets found.
          ▪   Magnolia Management LLC
                 • Formed in Alaska on November 16, 2007, to be the general partner
                    of Magnolia Holdings, Limited Partnership, also an Alaska entity
                    formed four days after.
                        o Owned 49% by AEJ and 51% by KJ as of formation.
                        o 100% ownership by AEJ in Divorce Decree entered March
                           17, 2015
                        o Involuntarily dissolved September 23, 2021
          ▪   Magnolia Management, LP
                 • Presumed to be an abbreviated reference to Magnolia Holdings
                    Limited Partnership (above)
                 • TX SOS – Shows several results like this name. Magnolia
                    Management is shown as a DBA of Alex Jones shown on one of
                    his Bank of America bank statements along with Jones Production
                    and Infowards [sic].
                 • Current rental property originally purchased by Dr. David Jones.
                    Alex Jones was added to mortgage when he purchased property in
                    2015 from Dr. David Jones.




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               •  Collections from rental went into Magnolia Management Bank of
                  America account but now go into PNC DIP depository account.
              • Mortgage on rental property is in name of David Jones and AEJ.
        ▪   Magnolia Holdings Limited Partnership
              • Formed in Alaska on November 20, 2007, to be the owner of
                  Prison Planet TV, LLC; Jones Report, LLC; and Infowars, LLC
                  (k/n/a/ InfoW, LLC)
                      o Owned 49.5% by AEJ and 49.5% by KJ as of formation.
                      o 100% ownership by AEJ in Divorce Decree entered March
                          17, 2015
                      o Involuntarily dissolved on May 9, 2020

        ▪   Jones Productions
               • Believed to be a misnomer of Jones Productions, LLC (below)
        ▪   Emric Productions LLC
               • Bank of America bank account with a balance of $485.27 in this
                   name
               • No entity by this name has been located
               • No other assets have been located as of the date hereof
        ▪   A. Emric Productions LLC
               • No bank accounts or other assets located as of the date hereof
               • Formed on May 10, 2007
               • Tax forfeiture occurred on January 28, 2011, over 12 years ago
        ▪   Jones Report, LLC
               • Received an assignment from AEJ for all copyrights, trademarks,
                   intellectual property associated with prisonplanet.com and
                   jonesreport.com on December 18, 2007
               • Tax Forfeiture March 10, 2023
               • Go Daddy Valuation as of March 2023 - $5,901.00
        ▪   Jones Productions, LLC
               • No bank accounts or other assets located as of the date hereof
               • Tax Forfeiture March 10, 2023
        ▪   Austin Shiprock Publishing, LLC (added)
               • Upon information and belief, AEJ owns 100% membership
                   interests and is manager – no operating agreement has been
                   located.
               • FSS received Travis County personal property tax bill rendering
                   reflecting a tax value of $1,354,474 of personal property owned by
                   this company but located at FSS’ location. This tax bill was paid
                   in 2002 by FSS.
               • No value is reflected due to the belief that this personal property is
                   or should be owned by FSS.


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        ▪   Planet Infowars, LLC (added)
               • Upon information and belief, AEJ owns 100% membership
                    interests and is manager – no operating agreement has been
                    located.
               • No bank accounts or other assets located as of the date hereof
               • Tax Forfeiture March 10, 2023
        ▪   RCGJ, LLC
               • No bank accounts or other assets located as of the date hereof
               • David Jones is manager
               • Unknown ownership


        ▪   AEJ Holdings, LLC
              • Cannot locate this entity – it appears to be a misnomer of AEJ
                  Austin Holdings LLC

        ▪   InfoW, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
                • Owns domains whatistheendgame.com, truthisnews.us,
                   Infowars.com, and Infowars.net valued at a total of $21,734 by Go
                   Daddy.
        ▪   IWHealth, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
                • Funds transferred by CRO of $45,000.
        ▪   Prison Planet TV, LLC
                • Transferred into 2022 Litigation Settlement Trust.
                • Believed to currently own prisonplanet.tv website which is valued
                   by Go Daddy at $201.
                • Forfeited corporate existence dated March 10, 2023.
                • No ownership or control by AEJ.
            The three entities above were transferred by Alex Jones to the 2022
            Litigation Settlement Trust in April 2022 in advance of their bankruptcy
            filings. The Trustee is Rob Dew. Mr. Dew is in the process of employing
            professionals to assist in determining how to carry out his fiduciary duties
            and interpret the 2022 Litigation Settlement Trust Agreement.

            Value - $66,935.00



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              One entity – End Hate Now, LLC formed in Nevada has an “Alex Jones”
              name associated with it; however, AEJ has no memory of this entity and
              upon information and belief it is not related to AEJ.

   o 22.0 Security Deposits and prepayments
         ▪ Pre-marital deposit - $179,764 from Security Bank on 11/08/22 AEJ’s
             account.
         ▪ $78,140 was made from The Missouri779384 Trust on 11/08/22 (catch up
             payment that ended up duplicated).
   o 26.0 Removing upon information and belief that such sites are owned by FSS due
     to payment therefore by AEJ’s American Express commonly reimbursed by FSS
   o 27.0 Licenses – An entry on AEJ’s tax return referenced “US Gym Patent.” After
     investigation, no such patent, nor any patent with AEJ as the author or applicant,
     could be found. Upon information and belief, this may relate to purchased gym
     equipment.
   o 28.0 Tax Refunds – Anticipated refund of $3,934,571 based on AEJ’s 2021 Form
     1040 that was filed March 29, 2023, potentially subject to setoff for current IRS
     claims.
   o 30.0 Other amounts someone owes you – amounts not paid by FSS under
     Employment Agreement.
   o 31.0 Interest in insurance policies
         ▪ Lincoln Benefits Life Insurance – Multiple requests for information made
             to insurance company for beneficiary information; no result as of the date
             hereof.
         ▪ CMFG Insurance – Ex-wife is listed as beneficiary, benefit is $375,000;
             policy requested and not received as of the date hereof.
   o 33.0 Claims against third parties
         ▪ Represented Debtor in Texas litigation; claim not valued currently.
   o 38.0 Accounts receivable or commissions you already owned
         ▪ Mountain Way Marketing, LLC; amount owed to Debtor for marketing &
             personal appearance fees as of the petition date, amount outstanding has
             since been collected and all funds returned to FSS.
         ▪ Elevated Solutions Group (“ESG”) – Prior to AEJ’s filing, ESG had an
             agreement with AEJ and a separate agreement with FSS to provide for the
             purchase, promotion and sale of Platinum products. Since the filing, FSS
             and AEJ have ceased doing business with ESG and future sales will be
             made through FSS.
   o 41.0 Inventory – AEJ purchased inventory (supplements) from Hi-Tech
     Pharmaceuticals, a dietary supplement industry leader in pre-workouts, diet &
     energy / weight loss, and strength & muscle building. Inventory cost was
     $760,854. Product was being marketed through a marketing agreement(s) with
     ESG and FSS.
         ▪ Originally marked “NO” Had no; revised to “YES”.



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       o 42.0 Interests in partnerships or joint ventures – please see entities under section
         19.
       o 49.0 Farm and fishing equipment
             ▪ Inoperable CAT Bulldozer – value $0, please see below picture.
             ▪ Inoperable Dump truck – value $0, please see below picture.




•   Part 6
        o 51.0 Any farm and commercial fishing related property you own or have an
           interest in.
               ▪ Appraisal as of 10/19/22 prepared by Henn & Associates $2,189,220
                   (originally showed 1,557,000)
               ▪ Appraisal prepared for Jordan & Ortiz, P.C.
               ▪ Transferred from Guadalupe Land and Water LLC as referenced above
•   Part 7
        o 53. Other property of any kind you did not already list


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              ▪   Access to Helicopter
                      • Non-transferable
                      • Initially in exchange for a one-time payment of $335,000 dated
                          03/03/2021 from FSS, check # 10635, AEJ jointly owned one (1)
                          helicopter with S&S 1165 Investment, LLC.
                      • When sold, AEJ rolled his proceeds into up to eight (8) trips per
                          year for a term of fifteen years.
              ▪ Alex Was Right (GiveSendGo) – valued at $915. GiveSendGo is a
                  Christian crowdfunding website founded in 2014. The website was
                  founded as a response to GoFundMe removing campaigns that they did
                  not agree with.
•   Schedule A/B: Property
       o 25.0 Continuation Page
              ▪ We have spoken to or reached out to no less than nine (9) attorneys to find
                  information on the following trusts along with asking UCC for any
                  information they have with no response from UCC on their asset searches.
                      • David Minton – Minton, Bassett, Flores & Carsey
                      • Stephen Lemmon – Streusand, Landon, Ozburn & Lemmon, LLP
                      • Elizabeth Morgan – Elizabeth Morgan & Associates
                      • Shelby Jordan – Jordan & Ortiz, P.C.
                      • Eric Taube – Holland & Knight
                      • Ray Battaglia – Ray Battaglia, PLLC
                      • Mike Cook – Cook Brooks Johnson PLLC
                      • H. Allen Hill, Jr. – The Law Office of H. Allen Hill, Jr.
              ▪ We have discussed trusts with the following non-attorneys.
                      • Alex Jones
                      • David Jones
                      • Bob Roe
              ▪ We have spoken to all the following Trustees of the trust’s as follows:
                      • RXXCTTGAA Trust – David Minton
                      • Green Leaf Trust – Alexander Jones & Kelly Jones (have not
                          spoken to [ex-wife])
                      • AEJ 2018 Trust – Alexander Jones
                      • The Missouri779384 Trust – David Jones
                      • Alexander E Jones Descendent and Beneficiary Trust – David
                          Jones
                      • 2022 Litigation Settlement Trust – Robert Dew Initial Trustee
                      • Recharge Dynasty Trust – Alexander E. Jones
              ▪ 25. Schedule A/B: Property
                      • Recharge Dynasty Trust (formed July 27, 2102) – value $0.
                              o Settlor – Alexander E. Jones and Kelly Rebecca Jones.
                              o Trustee – Alexander E. Jones.


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                       o Beneficiaries: Rex Alexander Jones, Charlotte Alexander
                           Jones and G. G. Jones, and any other descendants of the
                           Settlors born during the term of the trust.
                       o Security Bank Crawford closed its account due to Kelly
                           Rebecca Jones (Alex’s ex-wife) mis-appropriating funds
                           from bank account to pay for her legal fees and handed
                           David Jones a cashier’s check that he deposited into Alex’s
                           Prosperity account. David then had Prosperity Bank
                           (#9175) give him a cashier’s check dated December 12,
                           2022 for $29,935.66. Check was deposited into PNC DIP
                           depository account (#5233) on January 3, 2023 for
                           $29,935.66.
               •   2022 Litigation Settlement Trust (formed April 14, 2022) – Trustee
                   (Rob Dew) hiring counsel at our recommendation to help him
                   assess value and his fiduciary duties.
                       o Rights title and interest to:
                               ▪ InfoW, LLC. f/k/a Infowars, L.L.C.
                               ▪ IWHealth, LLC, f/k/a Infowars Health, L.L.C.
                               ▪ Prison Planet TV, LLC.
                               ▪ Trustee – Robert Dew
                       o Based upon cash owed to IWHealth, LLC and Go Daddy
                           values of domains owned by Prison Planet TV, LLC and
                           InfoW, LLC per GoDaddy, the value is $66,935.00
               •   Hutton Cabin Trust – Hutton Cabin Trust, formed in November
                   2009 by AJ and his ex-wife, revoked pursuant to the Divorce
                   Decree
               •   RXXCTTGAA Trust (formed June 1, 2015) – Owns Clawson
                   condo # 6
                       o Zillow Zestimate – current value $828,300 as of 03/15/23.
                               ▪ 3 bedrooms, 2.5 baths, 1,998 sf.
                       o Beneficiary – Alexander E. Jones while living.
               •   Green Leaf Trust (formed December 21, 2007) – $127,094
                   Security bank account.
                       o Alexander Jones & Kelly Jones [ex-wife] – co-trustees.
                       o Beneficiaries are children of AEJ: R. Jones, C. Jones and
                           G. Jones.
                       o Kelly Jones resigned as Trustee pursuant to Divorce Decree
                           in 2015.
               •   AEJ 2018 Trust (formed July 24, 2018) – $10,002 Security bank
                   account (# 0924).
                       o 100% owner of AEJ Austin Holdings LLC., which owns
                           90% of PLJR Holdings LLC which owns 80% of PQPR
                           Holdings Limited, LLC per 2020 tax returns.


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                         o Irrevocable Trust.
                         o Alexander E Jones is sole trustee and beneficiary.
                 •   The Missouri779384 Trust (formed May 9, 2018) – $54,519
                     Security bank account.
                         o Recipient of proceeds from sale of former Westlake Hills
                            home.
                                ▪ Original net sales proceeds went into trust from sale
                                    of home.
                         o Where majority of attorney retainers/fees paid from.
                 •   Alexander E. Jones Descendant and Beneficiary Trust Agreement
                     (formed March 28, 2017) – holds condo’s # 3 and 5.
                         o Zillow Zestimate # 3 – current value $804,100 as of
                            03/15/23.
                         o Zillow Zestimate # 5 – current value $767,400 as of
                            05/15/23.
                         o Grantor – Alexander E Jones.
                         o Trustee – David R. Jones.
                         o Beneficiaries - Rex Alexander Jones, Charlotte Alexandra
                            Jones, and G. G. Jones, and all other children born or
                            adopted by the Grantor after the date of the agreement.

                 •   G. Savings # 1154 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.
                 •   Rex Savings # 1156 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.
                 •   Charlotte Savings # 1152 (Texas Uniform Transfers to Minor Act
                     (UTMA)) – bank account styled – REMOVED, NOT A TRUST.

          ▪   Schedule C: The Debtor seeks to exempt particular personal property. The
              software utilized by Debtor’s counsel does not allow for one to pull out
              singular items a party wishes to exempt from the pre-prompted categories
              without redrafting the entirety of Schedule A/B Items 6-11, thus the
              Debtor will need to show the items he is exempting in these Notes. The
              Debtor will supplement with a formal Schedule C shortly.

      AEJ Personal Property Exemptions                Value Source

      Homestead household goods                      17,940   Per Appraisal
      Expedition                                     21,463   Kelly Blue Book
      Clothes                                           300   Per appraisal
      Cat                                               200   Internet search results
      Stacatto XC 9MM handgun                          2500   Internet search results
      Falcor Petra 300WinMag 22" rifle                 3000   4000 new


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             Tudor Genva Chronometer                         3000 Per Appraisal
             Tag Huer Aquaracer                              2000 Per Appraisal
                                        Total              50,403

             AEJ Homestead Exemption                 1,633,000.00 Zillow



                 ▪   Schedule F: Creditors who have unsecured claims.
                        • 4.2 removed American Express removed, was paid.
                        • Part 1 – Added Kelly Rebecca Jones as contingent, disputed, and
                           unliquidated creditor holding $0 claim.
                        • Part 2 4.19 – Added Security Bank Crawford as AEJ is a guarantor
                           on note, we are showing claim as $72,466.68 as of November 28,
                           2022.
                 ▪   Schedule H: Codebtors
                        • 3.1 – Added FSS as co-debtor to claimants listed on schedule F 4.1
                           – 4.18 and 4.20.
SOFA Form 107
  • Part 2
        o 4. Any Income from employment
              ▪ Have revised 2020 – $36,014,156 – From 2020 Form 1040
              ▪ Have added 2021 – $38,323,371 – From 2021 Form 1040
              ▪ Have added 2022 – $38,206,696 – Through 12/31/22 based on W-2’s,
                  1099’s and estimated financial statement for FSS and AEJ 2018 Trust
                  (pass through income). Information as of 12/02/22 was not readily
                  available.
        o 5. Did you receive any other income during this year.
              ▪ Have added rental income of $14,400 for the tax years 2020, 2021 and
                  2022.
  • Part 3
        o 6. Consumer debts
              ▪ Have removed Jordan, Shelby A. as $110,000 was a payment of
                  bankruptcy fees.
              ▪ Have revised Priority Paid payment of $104,190.78 after researching as
                  follows:
                      • $50,000 (+ $25 wire fee) – out going wire 10/17/2022. Bank is still
                          researching.
                      • $51,969.53 (+ $25 wire fee) – Synovus Bank – out going wire
                          11/07/2022. Bank is still researching.
                      • $20,000,00 – cashier’s check on 11/10/2022 from Security Bank to
                          Alex Jones & then re-deposited into same account on 12/19/2022.


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                      •    $25,000 (+ $25 wire fee) – out going wire on 09/27/2022. Bank is
                           still researching.
                       • $2,196.25 – outgoing wire to FSS that has now been removed.
                ▪ Have revised Unknown Payee for the $39,575.12 payment after
                   researching and revised to Austin Security Investigations Solutions, LLC.
        o 8. Within one year before you filed for bankruptcy.
                ▪ Transfers to Carol Jones from PLJR, LLC. Were removed after it was
                   discovered that PLJR, LLC is a company not wholly owned by Jones or
                   any of his wholly owned entities or self-settled trusts.
                ▪ In approximately 2016, Dr. David Jones took possession of 3 vehicles and
                   a piece of real estate upon AEJ paying off the lien upon such real estate
                   held by K. Jones pursuant to their divorce decree. It was not until 4/14/22
                   that the deed for the real estate showing such transfer was recorded.
                   Moreover, the title transfer of the vehicles was not recorded until
                   10/12/22, though Dr. David Jones had long since taken possession, and
                   been paying taxes and registration for such vehicles.
•   Part 5
        o 13. Within two years before you filed for bankruptcy.
                ▪ Gift cards for children for holidays under $3,000 each.
•   Part 7
        o 19. On April 5, 2022, proceeds of $3,252,925.49 from the sale of house (Cedar
            Oaks) went into The Missouri779384 Trust.
        o 21. Safe deposit box
                ▪ On March 24, 2023, contents of safe deposit box were viewed.
                ▪ It contained one (1) rubber band.
        o 22. Storage units
                ▪ Added two additional storage units at Public Storage on Lamar Blvd.
                ▪ All units viewed by UCC and UST representatives.
        o 23. Do you hold or control any property that someone else owns.
                ▪ Holding firearms for certain January 6th participants
                       • Sam Montoya
                                o Smith & Wesson – M&P 15-22
                       • Owen Shroyer
                                o Ruger – Security – 9
                                o Falkor Defense – FD – 9s
                                o Sig Sauer – SIGM400
                                o Storger Coach Gun – Coach gun 12GA 3” chamber
•   Part 11
        o 27. Within 4 years Before you filed for Bankruptcy, any limited liability company
            for which you had a membership interest
                ▪ Added Magnolia Management, LLC
                ▪ Added Magnolia Holdings, Limited Partnership
                ▪ Added AEJ Austin Holdings, LLC


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         ▪   Added Prison Planet TV, LLC
         ▪   Added Planet Infowars, LLC
         ▪   Added A. Emric Productions, LLC
         ▪   Added Austin Shiprock Publishing, LLC
         ▪   Added Infowars, k/n/a InfoW, LLC
         ▪   There is a company called End Hate LLC that came up in a search that is
             owned by an individual with a similar name to AEJ, but this is not an
             entity in which AEJ has a membership interest.




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 Fill in this information to identify your case:

  Debtor 1                  Alexander              E.                Jones
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                        Southern District of Texas

  Case number                        22-33553                                                                                        ✔
                                                                                                                                     ❑   Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived    Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                        there


                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                               Number     Street
                                                           To                                                                            To



    City                            State ZIP Code                                    City                          State ZIP Code



                                                                                    ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                          From
    Number       Street                                                               Number     Street
                                                           To                                                                            To



    City                            State ZIP Code                                    City                          State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ❑ No
    ✔ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).
    ❑

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 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross Income                Sources of income           Gross Income
                                                Check all that apply.       (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)

                                               ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
    From January 1 of current year until the                                      $8,232,691.00
    date you filed for bankruptcy:                 bonuses, tips                                           bonuses, tips
                                               ✔ Operating a business
                                               ❑                                 $30,296,069.00        ❑ Operating a business

    For last calendar year:                    ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                   bonuses, tips                  $1,144,044.00            bonuses, tips
    (January 1 to December 31, 2021       )
                                   YYYY        ✔ Operating a business
                                               ❑                                 $37,593,377.00        ❑ Operating a business

    For the calendar year before that:         ✔ Wages, commissions,
                                               ❑                                                       ❑ Wages, commissions,
                                                   bonuses, tips                    $639,118.00            bonuses, tips
    (January 1 to December 31, 2020       )
                                   YYYY        ✔ Operating a business
                                               ❑                                 $45,520,393.00        ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Debtor 1                                                Debtor 2

                                                Sources of income           Gross income from           Sources of income           Gross Income from
                                                Describe below.             each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the    Rental Income (see                     $14,400.00
    date you filed for bankruptcy:              Schedule I, Part 2.
                                                8(a))




    For last calendar year:                     Rental Income (see                     $14,400.00
    (January 1 to December 31, 2021       )     Schedule I, Part 2.
                                   YYYY         8(a))




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Debtor 1            Alexander               E.                    Jones                                          Case number (if known) 22-33553
                    First Name              Middle Name           Last Name


    For the calendar year before that:                Rental Income (see                    $14,400.00
    (January 1 to December 31, 2020              )    Schedule I, Part 2.
                                     YYYY             8(a))




 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ✔ No.
    ❑         Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
              ❑
                           paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                           not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ❑ Yes.    Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ❑ Yes.       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                           include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                           an attorney for this bankruptcy case.

                                                             Dates of           Total amount paid         Amount you still owe      Was this payment for…
                                                             payment

                                                                                                                                 ❑ Mortgage
             Muniz, L.                                       09/23/2022 -                 $16,117.71
             Creditor's Name                                 10/18/2022                                                          ❑ Car
             c/o Ray Battaglia, 66 Granburg Circle                                                                               ❑ Credit card
                                                                                                                                 ❑ Loan repayment
             Number      Street

             San Antonio, TX 78218-3010                                                                                          ❑ Suppliers or vendors
                                                                                                                                 ✔ Other Admin
             City                   State        ZIP Code
                                                                                                                                 ❑

                                                                                                                                 ❑ Mortgage
             JPMorgan Chase                                  10/04/2022-10               $73,458.00
             Creditor's Name                                 /25/2022                                                            ❑ Car
             PO Box 29505 A21-1191                                                                                               ✔ Credit card
                                                                                                                                 ❑
                                                                                                                                 ❑ Loan repayment
             Number      Street

             Phoenix, AZ 85038-9505
             City                   State        ZIP Code
                                                                                                                                 ❑ Suppliers or vendors
                                                                                                                                 ❑ Other

                                                                                                                                 ❑ Mortgage
             Pattis, Norman A.                                                          $160,025.00
             Creditor's Name                                                                                                     ❑ Car
             383 Orange Street, 1st Floor                                                                                        ❑ Credit card
                                                                                                                                 ❑ Loan repayment
             Number      Street

             New Haven, CT 06511                                                                                                 ❑ Suppliers or vendors
                                                                                                                                 ✔ Other Retainer
             City                   State        ZIP Code
                                                                                                                                 ❑




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Debtor 1          Alexander              E.                   Jones                                  Case number (if known) 22-33553
                  First Name             Middle Name          Last Name

                                                         Dates of         Total amount paid    Amount you still owe    Was this payment for…
                                                         payment

                                                                                                                      ❑ Mortgage
           Martin, Chris                                                         $110,025.00
           Creditor's Name                                                                                            ❑ Car
           808 Travis, Suite 1100                                                                                     ❑ Credit card
                                                                                                                      ❑ Loan repayment
           Number      Street

           Houston, TX 77002                                                                                          ❑ Suppliers or vendors
                                                                                                                      ✔ Other Retainer
           City                  State        ZIP Code
                                                                                                                      ❑

                                                                                                                      ❑ Mortgage
           Travis County, Texas                          12/01/2022-12            $73,811.00
           Creditor's Name                               /02/2022                                                     ❑ Car
           PO Box 1748                                                                                                ❑ Credit card
                                                                                                                      ❑ Loan repayment
           Number      Street

           Austin, TX 78714-1748
           City                  State        ZIP Code
                                                                                                                      ❑ Suppliers or vendors
                                                                                                                                Property
                                                                                                                      ✔ Other
                                                                                                                      ❑         Taxes


                                                                                                                      ❑ Mortgage
           Contini Renovations                           09/07/2022-10            $17,829.85
           Creditor's Name                               /18/2022                                                     ❑ Car
           510 Brian Lane                                                                                             ❑ Credit card
                                                                                                                      ❑ Loan repayment
           Number      Street

           Kyle, TX 78640                                                                                             ❑ Suppliers or vendors
                                                                                                                      ✔ Other Home Repair
           City                  State        ZIP Code
                                                                                                                      ❑

                                                                                                                      ❑ Mortgage
           Minton Burton Bassett & Collins               11/23/2022               $20,000.00
           Creditor's Name                                                                                            ❑ Car
           1100 Guadalupe Street                                                                                      ❑ Credit card
                                                                                                                      ❑ Loan repayment
           Number      Street

           Austin, TX 78701                                                                                           ❑ Suppliers or vendors
                                                                                                                      ✔ Other Retainer
           City                  State        ZIP Code
                                                                                                                      ❑

                                                                                                                      ❑ Mortgage
           Unknown, Payee                                10/17/2022               $50,000.00
           Creditor's Name                                                                                            ❑ Car
                                                                                                                      ❑ Credit card
           Number      Street
                                                                                                                      ❑ Loan repayment
                                                                                                                      ❑ Suppliers or vendors
           City                  State        ZIP Code
                                                                                                                      ✔ Other Unknown
                                                                                                                      ❑

                                                                                                                      ❑ Mortgage
           Unknown, Payee                                09/27/2022               $25,000.00
           Creditor's Name                                                                                            ❑ Car
                                                                                                                      ❑ Credit card
           Number      Street
                                                                                                                      ❑ Loan repayment
                                                                                                                      ❑ Suppliers or vendors
                                                                                                                      ✔ Other
           City                  State        ZIP Code
                                                                                                                      ❑
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Debtor 1             Alexander                    E.                     Jones                                         Case number (if known) 22-33553
                     First Name                   Middle Name            Last Name

                                                                     Dates of          Total amount paid        Amount you still owe        Was this payment for…
                                                                     payment

                                                                                                                                           ❑ Mortgage
             Unknown, Payee                                         11/07/2022                  $51,944.63
             Creditor's Name                                                                                                               ❑ Car
                                                                                                                                           ❑ Credit card
             Number       Street
                                                                                                                                           ❑ Loan repayment
                                                                                                                                           ❑ Suppliers or vendors
                                                                                                                                           ✔ Other
             City                         State        ZIP Code
                                                                                                                                           ❑

                                                                                                                                           ❑ Mortgage
             Allstate                                               09/16/2022 -                $22,581.82
             Creditor's Name                                        11/16/2022                                                             ❑ Car
             12835 E. Arapahoe Rd. Tower I-Suite                                                                                           ❑ Credit card
             200
             Number       Street
                                                                                                                                           ❑ Loan repayment
                                                                                                                                           ❑ Suppliers or vendors
             Centennial, CO 80112
             City                         State        ZIP Code                                                                            ✔ Other
                                                                                                                                           ❑

                                                                                                                                           ❑ Mortgage
             Austin Security and Investigation                      10/18/2022                  $39,575.12
             Solutions, LLC                                                                                                                ❑ Car
             Creditor's Name
                                                                                                                                           ❑ Credit card
             PO Box 2904
             Number       Street
                                                                                                                                           ❑ Loan repayment
                                                                                                                                           ❑ Suppliers or vendors
             Pflugerville, TX 78691
             City                         State        ZIP Code                                                                                      Personal
                                                                                                                                           ✔ Other
                                                                                                                                           ❑         Security




  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ❑ No
    ✔ Yes. List all payments to an insider.
    ❑
                                                                  Dates of           Total amount paid   Amount you still         Reason for this payment
                                                                  payment                                owe

                                                                                                                                  Premarital Agreement which requires
    Erika Wulff Jones                                             See attachment       $758,943.00           Unliquidated         monthly payments with a 4% annual
    Insider's Name                                                                                                                escalation throughout the term of the
    FSS, c/o Raymond Battaglia, 66 Greenburg                                                                                      marriage plus reimbursement of
    Circle                                                                                                                        certain expenses set forth in the
    Number     Street                                                                                                             agreement plus vehicle to be replaced
                                                                                                                                  periodically as set forth therein.
    San Antonio, TX 78218-3010
    City                          State      ZIP Code


                                                                                                                                  Of the $824,415.00, $500,000.00 was
    David Ross Jones                                              See attachment       $824,415.00                  $0.00         a direct pass-through from The
    Insider's Name                                                                                                                Missouri779384 Trust to David Jones
    c/o Stephen A. Roberts, 1400 Marshall Ln.                                                                                     (Security Bank Acct #753) then
    Number     Street                                                                                                             immediately to Alexander E. Jones
                                                                                                                                  (Security Bank Acct #8548).
    Austin, TX 78703-3407                                                                                                         $330,000.00 went to pay for
    City                          State      ZIP Code                                                                             professional retainer fees.




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Debtor 1             Alexander             E.                     Jones                                           Case number (if known) 22-33553
                     First Name            Middle Name            Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                          Dates of            Total amount paid    Amount you still           Reason for this payment
                                                          payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Nature of the case                      Court or agency                                  Status of the case

                                                     Determination of removed claim or
    Case title        Marcel Fontaine v. Alex
                      E. Jones, InfoWars, LLC,       cause                                  U.S. Bankruptcy Court Western District          ❑ Pending
                      Free Speech Systems
                                                                                            of Texas (Austin)
                                                                                            Court Name                                      ❑ On appeal
    Case number 22-01022-hcm                                                                903 San Jacinto Blvd., Suite 322                ✔ Concluded
                                                                                                                                            ❑
                                                                                            Number       Street
                                                                                            Austin, TX 78701
                                                                                            City                      State     ZIP Code


                                                     Determination of removed claim or
    Case title        Neil Heslin v. Alexander
                      E. Jones, InfoWars, LLC,       cause                                  U.S. Bankruptcy Court Western District          ❑ Pending
                      Free Speech Systems,
                                                                                            of Texas (Austin)
                                                                                            Court Name                                      ❑ On appeal
                      LLC and Owen Shroyer
                                                                                            903 San Jacinto Blvd., Suite 322                ✔ Concluded
                                                                                                                                            ❑
    Case number 22-01023-hcm                                                                Number       Street
                                                                                            Austin, TX 78701
                                                                                            City                      State     ZIP Code


                                                     Determination of removed claim or
    Case title        Scarlett Lewis v.
                      Alexander E. Jones,            cause                                  U.S. Bankruptcy Court Western District          ❑ Pending
                      InfoWars, LLC, and Free
                                                                                            of Texas (Austin)
                                                                                            Court Name                                      ❑ On appeal
                      Speech Systems, LLC
                                                                                            903 San Jacinto Blvd., Suite 322                ✔ Concluded
                                                                                                                                            ❑
    Case number 22-01024-hcm                                                                Number       Street
                                                                                            Austin, TX 78701
                                                                                            City                      State     ZIP Code




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Debtor 1            Alexander            E.                    Jones                                           Case number (if known) 22-33553
                    First Name           Middle Name           Last Name

                                                  Nature of the case                      Court or agency                             Status of the case

                                                  320 Assault Libel & Slander
    Case title       Gilmore v. Jones et al                                              U.S. District Court Western District of     ❑ Pending
    Case number 3:18-cv-00017-NKM-JCH
                                                                                         Virginia (Charlottesville)
                                                                                         Court Name                                  ❑ On appeal
                                                                                         255 W. Main Street Room 304                 ✔ Concluded
                                                                                                                                     ❑
                                                                                         Number       Street
                                                                                         Charlottesville, VA 22902
                                                                                         City                    State    ZIP Code


                                                  320 Assault Libel & Slander
    Case title       Klayman v. Infowars,
                     LLC et al
                                                                                         U.S. District Court for the Southern        ❑ Pending
                                                                                         District of Florida (Ft. Lauderdale)
                                                                                         Court Name                                  ❑ On appeal
    Case number 0:20-cv-61912-AMC
                                                                                         299 East Broward Blvd., #108                ✔ Concluded
                                                                                                                                     ❑
                                                                                         Number       Street
                                                                                         Fort Lauderdale, FL 33301
                                                                                         City                    State    ZIP Code


                                                  890 Other Statutory Actions
    Case title       Murdock v. Jones et al                                              U.S. District Court District of New         ❑ Pending
                3:21-cv-13184-
                                                                                         Jersey (Trenton)
                                                                                         Court Name                                  ❑ On appeal
    Case number MAS-DEA
                                                                                         402 East State Street                       ✔ Concluded
                                                                                                                                     ❑
                                                                                         Number       Street
                                                                                         Trenton, NJ 08608
                                                                                         City                    State    ZIP Code


                                                  Determination of removed claim or
    Case title       Erica Lafferty, David
                     Wheeler, Francine            cause                                  U.S. Bankruptcy Court District of           ❑ Pending
                     Wheeler, Jacqueline
                                                                                         Connecticut (Bridgeport)
                                                                                         Court Name                                  ❑ On appeal
                     Barden, Mark Barden,
                                                                                         915 Lafayette Boulevard                     ✔ Concluded
                                                                                                                                     ❑
                     Nicole Hockley, Ian
                                                                                         Number       Street
                     Hockley, Jennifer
                     Hensel, Jeremy Hensel,                                              Bridgeport, CT 06604
                     Jeremy Richman, Donna                                               City                    State    ZIP Code
                     Soto, Carlee Soto-Parisi,
                     Carlos Soto, Jillian Soto,
                     and William Aldenberg v.
                     Alex Emeric Jones,
                     Infowars, LLC, Free
                     Speech Systems, LLC,
                     Infowars Health, LLC,
                     Prison Planet TV, LLC,
                     Wolfgang Halbig, Corey
                     T. Sklanka, Gensis
                     Communications
                     Network, Inc., and Midas
                     Resources, Inc.

    Case number 22-05004

                                                  Determination of removed claim or
    Case title       William Sherlach v. Alex
                     E. Jones, Free Speech        cause                                  U.S. Bankruptcy Court District of           ❑ Pending
                     Systems, LLC, Wolfgang
                                                                                         Connecticut (Bridgeport)
                                                                                         Court Name                                  ❑ On appeal
                     Halbig, Cory T. Sklanka,
                                                                                         915 Lafayette Boulevard                     ✔ Concluded
                                                                                                                                     ❑
                     Genesis
                                                                                         Number       Street
                     Communications
                     Network, Inc. and Midas                                             Bridgeport, CT 06604
                     Resources, Inc.                                                     City                    State    ZIP Code

    Case number 22-05005




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Debtor 1            Alexander            E.                   Jones                                           Case number (if known) 22-33553
                    First Name           Middle Name          Last Name

                                                 Nature of the case                      Court or agency                             Status of the case

                                                 Determination of removed claim or
    Case title       William Sherlach v. Alex
                     E. Jones, Free Speech       cause                                  U.S. Bankruptcy Court District of           ❑ Pending
                     Systems, LLC, Wolfgang
                                                                                        Connecticut (Bridgeport)
                                                                                        Court Name                                  ❑ On appeal
                     Halbig, Cory T. Sklanka,
                                                                                        915 Lafayette Boulevard                     ✔ Concluded
                                                                                                                                    ❑
                     Genesis
                                                                                        Number       Street
                     Communications
                     Network, Inc., and Midas                                           Bridgeport, CT 06604
                     Resources, Inc.                                                    City                    State    ZIP Code

    Case number 22-05006

                                                 Determination of removed claim or
    Case title       Neil Heslin, Scarlett
                     Lewis, Leonard Pozner,      cause                                  U.S. Bankruptcy Court Western District      ❑ Pending
                     Veronique de la Rose,
                                                                                        of Texas (Waco)
                                                                                        Court Name                                  ❑ On appeal
                     Marcel Fontaine v. Info
                                                                                        800 Franklin Avenue, #140                   ✔ Concluded
                                                                                                                                    ❑
                     W, LLC, Alex E. Jones,
                                                                                        Number       Street
                     Free Speech Systems,
                     LLC                                                                Waco, TX 76701
                                                                                        City                    State    ZIP Code
    Case number 22-06004-mmp


                                                                                                                                    ✔ Pending
                                                 Defamation
    Case title       Neil Heslin v. Alex E.
                     Jones et al
                                                                                        261st District Court of Travis County       ❑
                                                                                        Texas
                                                                                        Court Name                                  ❑ On appeal
    Case number D-1GN-18-001835
                                                                                        1700 Guadalupe, 10th Floor                  ❑ Concluded
                                                                                        Number       Street
                                                                                        Austin, TX 78701
                                                                                        City                    State    ZIP Code



                                                                                                                                    ✔ Pending
                                                 Defamation
    Case title       Scarlett Lewis v. Alex E.
                     Jones, et al
                                                                                        53rd District Court for Travis County       ❑
                                                                                        Texas
                                                                                        Court Name                                  ❑ On appeal
    Case number D1-GN-18-006623
                                                                                        1700 Guadalupe, 8th Floor                   ❑ Concluded
                                                                                        Number       Street
                                                                                        Austin, TX 78701
                                                                                        City                    State    ZIP Code



                                                                                                                                    ✔ Pending
                                                 Defamation
    Case title       Leonard Pozner and
                     Veronique De La Rosa v.
                                                                                        345th District Court of Travis County       ❑
                     Alex E. Jones, et al
                                                                                        Texas
                                                                                        Court Name                                  ❑ On appeal
    Case number D1-GN-18-001824                                                         1700 Guadalupe, 10th Floor                  ❑ Concluded
                                                                                        Number       Street
                                                                                        Austin, TX 78701
                                                                                        City                    State    ZIP Code



                                                                                                                                    ✔ Pending
                                                 Defamation
    Case title       Marcel Fontaine v. Alex
                     E. Jones, et al
                                                                                        459th District Court of Travis County       ❑
                                                                                        Texas
                                                                                        Court Name                                  ❑ On appeal
    Case number D1-GN-18-001605
                                                                                        1700 Guadalupe, 11th Floor                  ❑ Concluded
                                                                                        Number       Street
                                                                                        Austin, TX 78701
                                                                                        City                    State    ZIP Code




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Debtor 1            Alexander               E.                          Jones                                          Case number (if known) 22-33553
                    First Name              Middle Name                 Last Name

                                                           Nature of the case                     Court or agency                            Status of the case


                                                                                                                                            ✔ Pending
                                                           Defamation
    Case title        Lafferty, et al v. Alex
                      Jones, et al
                                                                                                 In the Superior Court of Connecticut       ❑
                                                                                                 Judicial District of Waterbury
                                                                                                 Court Name                                 ❑ On appeal
    Case number UWY-CV-XX-XXXXXXX-S
                                                                                                 400 Grand Street                           ❑ Concluded
                                                                                                 Number       Street
                                                                                                 Waterbury, CT 06702
                                                                                                 City                    State   ZIP Code



                                                                                                                                            ✔ Pending
                                                           Defamation
    Case title        Sherlach v. Jones, et al                                                   In the Superior Court of Connecticut       ❑
    Case number UWY-CV-XX-XXXXXXX-S
                                                                                                 Judicial District of Waterbury
                                                                                                 Court Name                                 ❑ On appeal
                                                                                                 400 Grand Street                           ❑ Concluded
                                                                                                 Number       Street
                                                                                                 Waterbury, CT 06702
                                                                                                 City                    State   ZIP Code



                                                                                                                                            ✔ Pending
                                                           Defamation
    Case title        Sherlach, et al v. Jones,
                      et al
                                                                                                 In the Superior Court of Connecticut       ❑
                                                                                                 Judicial District of Waterbury
                                                                                                 Court Name                                 ❑ On appeal
    Case number UWY-CV-XX-XXXXXXX-S
                                                                                                 400 Grand Street                           ❑ Concluded
                                                                                                 Number       Street
                                                                                                 Waterbury, CT 06702
                                                                                                 City                    State   ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.
                                                                         Describe the property                               Date             Value of the property



    Creditor’s Name


    Number       Street                                                  Explain what happened

                                                                        ❑ Property was repossessed.
                                                                        ❑ Property was foreclosed.
                                                                        ❑ Property was garnished.
    City                          State         ZIP Code
                                                                        ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1             Alexander              E.                      Jones                                          Case number (if known) 22-33553
                     First Name             Middle Name             Last Name

                                                             Describe the action the creditor took                      Date action was    Amount
                                                                                                                        taken
    Creditor’s Name


    Number     Street



    City                          State     ZIP Code
                                                            Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑ No
    ✔ Yes. Fill in the details for each gift.
    ❑
     Gifts with a total value of more than $600             Describe the gifts                                         Dates you gave      Value
     per person                                                                                                        the gifts
                                                            Children, Holidays all under $3,000.00.
    See Global Notes
    Person to Whom You Gave the Gift




    Number     Street



    City                            State    ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ❑ No
    ✔ Yes. Fill in the details for each gift or contribution.
    ❑
     Gifts or contributions to charities           Describe what you contributed                                  Date you                Value
     that total more than $600                                                                                    contributed

    Lake Hills Church                                                                                             Unknown                           $2,000.00
    Charity’s Name




    11521 Bee Caves Rd.
    Number     Street


    Austin, TX 78758
    City                    State    ZIP Code




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Debtor 1            Alexander           E.                     Jones                                         Case number (if known) 22-33553
                    First Name          Middle Name            Last Name
 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                       Date of your loss       Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred             Date payment or        Amount of payment
    Crowe & Dunlevy, P. C.                                                                                  transfer was made
    Person Who Was Paid                       Attorney's Fee
                                                                                                           12/2/2022                        $48,193.00
    2525 McKinnon St., Suite 425
    Number     Street




    Dallas, TX 75201
    City                   State   ZIP Code
    www.cowedunlevy.com
    Email or website address
    The Missouri779384 Trust
    Person Who Made the Payment, if Not You


                                              Description and value of any property transferred             Date payment or        Amount of payment
    Jordan, Shelby A.                                                                                       transfer was made
    Person Who Was Paid                       Attorney's Fee
                                                                                                           11/30/22                        $146,790.16
    500 N. Shoreline Blvd., Suite 900
    Number     Street




    Corpus Christi, TX 78401-0341
    City                   State   ZIP Code
    www.jhwclaw.com
    Email or website address
    The Missouri779384 Trust
    Person Who Made the Payment, if Not You




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Debtor 1            Alexander           E.                   Jones                                          Case number (if known) 22-33553
                    First Name          Middle Name          Last Name



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or        Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code




  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Description and value of property        Describe any property or payments              Date transfer was
                                               transferred                              received or debts paid in exchange             made

    Person Who Received Transfer


    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made
                                              House sold in November, 2021 for $3,252,925.49 which was transferred to The
    Name of trust The Missouri779384          Missouri779384 Trust (Cedar Oaks Dr., in Westlake).                                     04-05-2022

    Trust




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Debtor 1            Alexander            E.                   Jones                                            Case number (if known) 22-33553
                    First Name           Middle Name          Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Last 4 digits of account number           Type of account or     Date account was          Last balance
                                                                                          instrument             closed, sold, moved, or   before closing or
                                                                                                                 transferred               transfer

    Security Bank of Crawford
                                                                                     ✔ Checking
                                                                                                                  See Global                  $29,935.66
                                                                                     ❑
    Name of Financial Institution               XXXX– 8       5    4      8
                                                                                                                  Notes, Item
    PO Box 90                                                                        ❑ Savings                    #25 for
                                                                                                                  Schedules
                                                                                     ❑ Money market
    Number      Street


                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    Crawford, TX 76638
    City                   State    ZIP Code

    Prosperity Bank
                                                                                     ✔ Checking
                                                                                                                  01/10/2023                 $212,742.30
                                                                                     ❑
    Name of Financial Institution               XXXX– 9       1    7      5

    PO Box Box Drawer G                                                              ❑ Savings
                                                                                     ❑ Money market
    Number      Street


                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    El Campo, TX 77437
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Who else had access to it?                     Describe the contents                       Do you still have
                                                                                                                                            it?

                                                                                                                                           ✔ No
                                                                                               On 03-24-2023 lock was drilled and box
    Prosperity Bank                              N/A                                           was empty (1 rubber band). Cosigners        ❑
                                                                                                                                           ❑ Yes
    Name of Financial Institution               Name
                                                                                               were AEJ and ex-wife.

    PO Box Drawer G
    Number      Street                          Number    Street



                                                City                   State   ZIP Code
    El Campo, TX 77437
    City                    State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




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Debtor 1            Alexander           E.                   Jones                                          Case number (if known) 22-33553
                    First Name          Middle Name          Last Name

                                                Who else has or had access to it?           Describe the contents                     Do you still have
                                                                                                                                      it?
                                                                                           4 Units - Household furniture, exercise
    Cubesmart                                   David Jones and Alex Jones, L. Muniz       equipment & misc.                         ❑ No
    Name of Storage Facility                    (see Motion to Seal, Dkt #__)
                                               Name
                                                                                                                                     ✔ Yes
                                                                                                                                     ❑
    6130 E. Ben White Blvd.
    Number     Street
                                               Number    Street


                                                Austin, TX
    Austin, TX 78741                           City                  State   ZIP Code
    City                    State   ZIP Code

                                                                                           2 Units - Household furniture.
    Public Storage Ben White                    David Jones, Alex Jones, L. Muniz                                                    ❑ No
    Name of Storage Facility                    (see Motion to Seal, Dkt #__)
                                               Name
                                                                                                                                     ✔ Yes
                                                                                                                                     ❑
    2301 E. Ben White Blvd.
    Number     Street
                                               Number    Street



    Austin, TX 78741                           City                  State   ZIP Code
    City                    State   ZIP Code


                                                                                                                                     ✔ No
                                                                                           3 Units - Household furniture.
    Public Storage Westlake                     David Jones, Alex Jones, L. Muniz                                                    ❑
                                                                                                                                     ❑ Yes
    Name of Storage Facility                    (see Motion to Seal, Dkt #__)
                                               Name
    6726 RM 2244
    Number     Street
                                               Number    Street



    Austin, TX 78746                           City                  State   ZIP Code
    City                    State   ZIP Code


                                                                                                                                     ✔ No
                                                                                           2 Units - Household furniture.
    Public Storage                              David Jones, Alex Jones, L. Muniz                                                    ❑
                                                                                                                                     ❑ Yes
    Name of Storage Facility                    (see Motion to Seal, Dkt #__)
                                               Name
    1800 S. Lamar Blvd.
    Number     Street
                                               Number    Street



    Austin, TX 78704                           City                  State   ZIP Code
    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑




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Debtor 1            Alexander           E.                    Jones                                                Case number (if known) 22-33553
                    First Name          Middle Name            Last Name

                                                Where is the property?                             Describe the property                       Value
                                                                                                  January 6th participant. 1. Ruger -
    Owen Shroyer                                FSS, c/o Raymond Battaglia, 66                    Security-9 2. Falkor Defense-FD-9S 3. Sig
    Owner's Name
                                                Greenburg Circle                                  Sauer -SIGM400 4. Storger Coach
                                               Number     Street                                  Gun-Coach Gun 12 GA 3" chamber
    FSS, c/o Raymond Battaglia, 66
    Granburg Circle
    Number     Street
                                                San Antonio, TX 78218-3010
                                               City                       State   ZIP Code

    San Antonio, TX 78218-3010
    City                   State   ZIP Code

                                                                                                  January 6th participant. 1. Smith & Wesson
    Sam Montoya                                 FSS, c/o Raymond Battaglia, 66                    - M&P 15-22.
    Owner's Name
                                                Greenburg Circle
                                               Number     Street
    FSS, c/o Raymond Battaglia, 66
    Granburg Circle
    Number     Street
                                                San Antonio, TX 78218-3010
                                               City                       State   ZIP Code

    San Antonio, TX 78218
    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it                 Date of notice


    Name of site                              Governmental unit



    Number     Street                         Number     Street


                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



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Debtor 1            Alexander             E.                        Jones                                            Case number (if known) 22-33553
                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                       Date of notice


    Name of site                                  Governmental unit



    Number        Street                          Number       Street


                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                      Status of the case


    Case title
                                                  Court Name
                                                                                                                                                ❑ Pending
                                                                                                                                                ❑ On appeal
                                                                                                                                                ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ✔ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑
           ✔ A partner in a partnership
           ❑
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ❑ No. None of the above applies. Go to Part 12.
    ✔ Yes. Check all that apply above and fill in the details below for each business.
    ❑
                                                    Describe the nature of the business                      Employer Identification number
    Free Speech Systems, LLC                                                                                 Do not include Social Security number or ITIN.
    Name
                                                   Media production.
                                                                                                              EIN:    2    6 – 1   5   1    0   0     0   5
    c/o Ray Battaglia, 66 Granburg Circle
    Number        Street

                                                    Name of accountant or bookkeeper                         Dates business existed
                                                   Patrick MaGill and Jeff Shulse
                                                                                                              From 11/16/2007 To
    San Antonio, TX 78218-3010
                                                                                                              03/10/2023 (Tax Forfeiture)
    City                    State   ZIP Code




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Debtor 1            Alexander           E.                   Jones                                           Case number (if known) 22-33553
                    First Name          Middle Name          Last Name

                                                Describe the nature of the business                  Employer Identification number
    Magnolia Management, LLC                                                                         Do not include Social Security number or ITIN.
    Name
                                               General Partner for Magnolia Holdings, Limited
                                               Partnership                                            EIN:    6   1 – 1    5   4    6   9   1   5
    3059 Mountainwood
    Number    Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 11/16/2007      To 09/23/2021
    Juneau, AK 99801
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Magnolia Holdings, Limited                                                                       Do not include Social Security number or ITIN.
    Partnership
                                               Holding company for Prison Planet TV, LLC, Jones
    Name                                                                                              EIN:    2   6 – 1    5   0    9   9   0   6
                                               Report, LLC and Infowars, LLC.
    1225 E. International Airport Rd., Suite
    Number    Street                                                                                 Dates business existed
                                                Name of accountant or bookkeeper
                                               NA
                                                                                                      From 11/20/2007      To 05/29/2020
    Anchorage, AK 99518
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Prison Planet TV, LLC                                                                            Do not include Social Security number or ITIN.
    Name
                                               Holds movie rights
                                                                                                      EIN:             –
    3005 S. Lamar Blvd., Suite
    Number    Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 11/15/2007 To
    Austin, TX 78704
                                                                                                      03/10/2023 (Tax Forfeiture)
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Jones Report, LLC                                                                                Do not include Social Security number or ITIN.
    Name
                                               Holds Intellectual Property
                                                                                                      EIN:             –
    3005 S. Lamar Blvd., Suite
    Number    Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 11/15/2007      To 03/10/2023
    Austin, TX 78704
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    AEJ Austin Holdings, LLC                                                                         Do not include Social Security number or ITIN.
    Name
                                               Distributions from AEJ 2018 Trust
                                                                                                      EIN:             –
    PO Box 19549
    Number    Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 09/24/2018      To 03/10/2023
    Austin, TX 78760
    City                   State   ZIP Code




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Debtor 1            Alexander           E.                   Jones                                           Case number (if known) 22-33553
                    First Name          Middle Name          Last Name

                                                Describe the nature of the business                  Employer Identification number
    Planet Infowars, LLC                                                                             Do not include Social Security number or ITIN.
    Name
                                               Unknown - upon information and belief, this entity
                                               has not been used                                      EIN:             –
    PO Box 19549
    Number     Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 04/04/2012      To 03/10/2023
    Austin, TX 78760-9549
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Emeric Productions, LLC                                                                          Do not include Social Security number or ITIN.
    Name
                                               Unknown - upon information and belief, this entity
                                               has not been used                                      EIN:             –
    Uknown
    Number     Street

                                                Name of accountant or bookkeeper                     Dates business existed

                                                                                                      From 05/10/2007      To 11/28/2011
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Austin Shiprock Publishing, LLC                                                                  Do not include Social Security number or ITIN.
    Name
                                               Unknown - upon information and belief, this entity
                                               has not been used                                      EIN:             –
    PO Box 19549
    Number     Street

                                                Name of accountant or bookkeeper                     Dates business existed

                                                                                                      From 04/24/2012      To 03/10/2023
    Austin, TX 78760-9549
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Infowars n/k/a Infow, LLC                                                                        Do not include Social Security number or ITIN.
    Name
                                               Holds Intellectual Property
                                                                                                      EIN:             –
    3005 S. Lamar Blvd., Suite
    Number     Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 11/15/2007      To 03/10/2023
    Austin, TX 78704
    City                   State   ZIP Code

                                                Describe the nature of the business                  Employer Identification number
    Jones Productions, LLC                                                                           Do not include Social Security number or ITIN.
    Name
                                                                                                      EIN:    2   6 – 1    5   0    9   9   5   5
    3005 S. Lamar Blvd., Suite
    Number     Street

                                                Name of accountant or bookkeeper                     Dates business existed
                                               NA
                                                                                                      From 01/14/2007 To
    Austin, TX 78704
                                                                                                      03/10/2023 (Tax Forfeiture)
    City                   State   ZIP Code




  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.




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Debtor 1            Alexander           E.                      Jones                                       Case number (if known) 22-33553
                    First Name          Middle Name             Last Name

                                                Date issued



    Name                                       MM / DD / YYYY



    Number       Street




    City                   State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Alex Jones
           Signature of Alex Jones, Debtor 1


           Date 03/30/2023




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                    Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                           Declaration, and Signature (Official Form 119).




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